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                                                                                     KANE KESSLER, P.C.
                                                                                     600 THIRD AVENUE
                                                                                     NEW YORK, NEW YORK 10016-1901
                                                                                     TEL 212.541.6222
                                                                                     FAX 212.245.3009
                                                                                     WWW.KANEKESSLER.COM

                                                                                     WRITER’S DIRECT NUMBER
                                                                                     212.519.5164

                                                                                     WRITER’S EMAIL
                                                                                     dgimmel@kanekessler.com
 December 18, 2023

 VIA ECF

 Hon. Nicholas G. Garaufis
 United States District Court for the
 Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, New York 11201

 Re:    Parts Authority, LLC v. Beyda, No.1:23-cv-07656-NGG-VMS

 Dear Judge Garaufis:

        We write on behalf of plaintiff Parts Authority, LLC, in accordance with the Court’s Rule
 IV.G in this diversity action pursuant to 28 U.S.C. § 1332.

        Plaintiff Parts Authority, LLC, is a citizen of the State of Delaware, and its sole member
 PAI Holdco, Inc., is a Delaware corporation and citizen of the State of Delaware. The principal
 place of business of each is 3 Dakota Drive, Lake Success, New York 11042.

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        We thank the Court for its attention to this matter.

                                                               Respectfully submitted,
                                                               /s/ Daniel Gimmel
                                                               Daniel Gimmel

 cc:    All counsel via ECF
